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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

                                                :
Kenneth Leff,                                   :
                                                : Civil Action No.: 3:13-cv-06249-MLC-LHG
                       Plaintiff,               :
       v.                                       :
                                                :
Verizon Wireless; and DOES 1-10, inclusive,     :
                                                :
                       Defendant.               :
                                                :
                                                :


            NOTICE OF WITHDRAWAL OF COMPLAINT AND VOLUNTARY
                    DISMISSAL OF ACTION WITH PREJUDICE
                           PURSUANT TO RULE 41(a)

       Kenneth Leff (“Plaintiff”), by Plaintiff’s attorney, hereby withdraws the complaint and
voluntarily dismisses this action, with prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).

Dated: April 9, 2014

                                                    Respectfully submitted,

                                                    By: /s/ Sofia Balile

                                                        Sofia Balile, Esq.
                                                        Lemberg Law, LLC
                                                        1100 Summer Street
                                                        Stamford, CT 06905
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                                                        Attorneys for Plaintiffs
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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 9, 2014, a true and correct copy of the foregoing Notice of
Withdrawal was served electronically by the U.S. District Court for the District of New Jersey
Electronic Document Filing System (ECF) and that the document is available on the ECF
system.

                                             By_/s/ Sofia Balile_______

                                                  Sofia Balile
